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MINUTE ENTRY
BARBIER, J.
APRIL 27, 2011
JS-10: 55 min.

                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

JAMES M. FOX, ET AL                                      CIVIL ACTION

VERSUS                                                   NUMBER: 10-3065

4403100 CANADA, INC, ET AL                               SECTION: J

COURTROOM DEPUTY:                                        COURT REPORTER:
EILEEN STENSRUD                                          CATHY PEPPER


                    WEDNESDAY, APRIL 27, 2011 9:30 A.M.
                     JUDGE CARL J. BARBIER PRESIDING

4403100 CANADA, INC’S MOTION TO DISMISS FOR LACK OF JURISDICTION AND
FORUM NON CONVIENS (14):

                                Argued; ORDERED GRANTED.

4403096 CANADA, INC’S MOTION TO DISMISS FOR LACK OF JURISDICTION AND
FORUM NON CONVENIENS (16):

                                Argued; ORDERED GRANTED.

4403096 Canada, Inc., 4403100 Canada, Inc., 4403199 Canada, Inc., 90835018
Quebec, Inc., 91435818 Quebec, Inc., Corporation Ecolomondo, Inc., Ecolomondo
Corp. MOTION for Leave to File to File Reply Brief, Affidavit of Eliot Sorella, to
Exceed Page Limit: ORDERED GRANTED.

The court finds a lack of personal jurisdiction as to these defendants, and the
other defendants named in this case.

Therefore, this case is ORDERED dismissed without prejudice for lack of
jurisdiction and forum non conveniens.

ATTORNEYS: Kearney S. Loughlin, Esq. & Gail Renshaw, Atty at Law, for
           plaintiffs
           Victor Franckiewicz, Jr., Eqs. & Lemuel Montgomery, III, Esq., for
           4403100 Canada, Inc. & 4403096 Canada, Inc.
